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                                                            SEALED
9
                       THE UNITED STATES DISTRICT COURT
10
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12

13
                                             )                   2:22-cv-0009 TLN DMC
     ROGER CREIGHTON                         )        Case No.
14
                                             )
                                             )        QUI TAM ACTION COMPLAINT FOR
15                                           )
             Qui Tam Relator Plaintiff
              on behalf of the United States )        DAMAGES AND INJUNCTIVE RELIEF
16                                           )
                                             )
17                                           )        FILED UNDER SEAL PURSUANT TO 31
                                             )
18                                           )        U.S.C. §3730(B)(2)
       vs.
                                             )
19                                           )
                                             )
20                                           )
     BELCAMPO GROUP, INC., BELCAMPO          )        1) VIOLATION OF THE FEDERAL FALSE
21   FARMS, LLC., ANYA FERNALD, TODD         )        CLAIMS ACT
     A. ROBINSON AND GARRY EMBLETON )
22                                           )
                                             )
23                                           )
                                             )
24                             Defendants    )
                                             )        DEMAND FOR JURY TRIAL
25
                                             )
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                                             )        PLEASE DO NOT PUT IN PRESS BOX
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     ______________________________________ )         PLEASE DO NOT ENTER ON PACER
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1           COMES NOW, Relator Plaintiff, ROGER CREIGHTON (sometimes referred to herein
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     as “Relator Plaintiff”), now alleging upon information and belief and filing this qui tam
3
     Complaint, as follows:
4

5
                                PARTIES, JURISDICTION AND VENUE
6
            1. Relator Plaintiff Roger Creighton (“Relator Plaintiff’) is a former employee of
7
     Defendant Belcampo Group, Inc. and its co-Defendants who was wrongfully and tortiously
8
     terminated by said Defendant after having complained and made attempts to cause Defendants to
9
     cease violating the False Claims Act and undertaking other unlawful conduct (sometimes
10
     identified herein as the “Unlawful Conduct”) alleged herein.
11

12          2. The Defendants in this action are as follows:

13                  a) Belcampo Group, Inc. is a corporation organized and existing under the laws of
14
     the State of California with its principal place of business in Oakland, California.
15
                    b) BelCampo Farms, LLC is a limited liability company organized and existing
16

17
     under the laws of the State of California with its principal place of business in Oakland,

18
     California.

19                  c) ANYA FERNALD is the co-founder, CEO, director and principal of each of
20   the foregoing entities (collectively “BelCampo”) and a supervisor of Relator Plaintiff during
21   Relator Plaintiff’s employment with BelCampo.
22
                    d) TODD A. ROBINSON is the co-founder, CEO, director and principal of
23
     BelCampo.
24
                    e) GARRY EMBLETON is the former CEO, director and principal of BelCampo
25
     and a supervisor of Relator Plaintiff during Relator Plaintiff’s employment with BelCampo.
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1                   f) In addition to the foregoing, BelCampo (in its capacity and role as the former

2    employer of Relator Plaintiff and as the perpetrator of all alleged activities hereunder) owns,
3    operates, colludes with, uses, conspires with and manages a number of shell and sham entities
4    which have a unity of interest with BelCampo and are used (and are being used) by BelCampo,
5    its co-Defendants and others to avoid legitimate liabilities and obligations, fraudulently channel
6    and hide assets and engage in other conduct which is unlawful and designed to avoid tax
7    liabilities and debts/obligations. Such conduct is sufficiently deceptive to “pierce the corporate
8    veil” of BelCampo and each of these entities, which include the following (each of which will be
9    added as a party to this Complaint as a so-called “Doe Defendant”):
10
                            i) Belcampo California, LLC is a limited liability company organized
11
     under the laws of the State of California which purports to be a “member” of Defendant
12
     Belcampo Farms, LLC;
13
                            ii) Belcampo Basecamp, LLC is a suspended limited liability company
14
     organized under the laws of the State of California which is managed by Defendants Anya
15
     Fernald and Todd Robinson;
16

17                          iii) Belcampo Butchery Land, LLC is a limited liability company

18   organized under the laws of the State of California which is managed by Defendants Anya

19   Fernald and Todd Robinson;

20                          iv) Belcampo Butchery, LLC is a limited liability company organized
21   under the laws of the State of California which is managed by Defendant Anya Fernald;
22
                            v) Belcampo Meat Company, LLC is a limited liability company
23
     organized under the laws of the State of California which is managed by Defendant Anya
24
     Fernald;
25
                            vi) Belcampo Property, LLC is a limited liability company organized
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     under the laws of the State of California which is managed by Defendant Anya Fernald;
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                                                      3
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1                           vii) Belcampo Retail Products, LLC is a limited liability company

2    organized under the laws of the State of California which is managed by Defendant Anya

3    Fernald; and

4                           viii) Fabbrico Belcampo, LLC is a suspended limited liability company
5    organized under the laws of the State of California which is managed by Defendant Anya
6    Fernald .
7
            3.      a) Relator Plaintiff is ignorant of the true names and capacities of the above-
8
     referenced Doe Defendants and all such defendants sued herein as DOES 1 through 20,
9
     inclusive, and therefore sues these defendants by such fictitious names. Relator Plaintiff will
10
     amend this complaint to allege their true names and capacities when ascertained. Relator Plaintiff
11
     are informed and believe and thereon allege that each of the fictitiously named defendants is
12
     actually responsible in some manner for the occurrences herein alleged, and each of Relator
13
     Plaintiff’s injuries as herein alleged were actually and proximately caused by Defendants' actions
14
     and/or omissions.
15
                    b) Relator Plaintiff is informed and believes and thereon alleges that in
16
     connection with the acts and omissions alleged herein, each and all of the Defendants named
17
     herein, together with those unknown to Relator Plaintiff, entered into a partnership, employment,
18
     joint venture, and/or principal-agent relationship to carry our all of the acts and omissions herein
19
     alleged. At all times herein mentioned, each such Defendant has been and continues to be the
20
     employees, agents, partners, employers, principals, and/or joint venturers of each of their Co-
21
     Defendants, and in acting and omitting to act as alleged herein, acted and/or failed to dutifully
22
     act: (i) both on their own behalf and on behalf of their employees, agents, partners, employers,
23
     principals, and/or joint venturers; (ii) within the course and scope of and pursuant to Relator
24
     Plaintiff’s employment, agency, joint venture and/or partnership; and (iii) with the authorization,
25
     direction, ratification, and adoption of their employers, principals, joint venturers, partners,
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1    employees, and/or agents. Accordingly, each of them is jointly and severally liable and/or

2    vicariously liable for the conduct of each of the others. Relator Plaintiff may seek leave of court

3    to allege the exact nature of such interrelationships when the same are fully ascertained.

4                   c) Relator Plaintiff further alleges that BelCampo and the foregoing Doe
5
     Defendants, and each of them, engaged in a civil conspiracy to violate numerous provisions of
6
     the False Claim Act and other federal laws as alleged herein and otherwise. Said Defendants
7
     (and each of them) undertook efforts to conceal, cover-up and defraud the United States and
8
     consumers and otherwise prevent the citizens of the United States and the United States
9
     government from discovering and/or knowing about the Unlawful Conduct alleged herein. Each
10
     Defendant aided and abetted each of the others in furtherance of the civil conspiracy with actual,
11
     inquiry and constructive knowledge of the commission of each of the unlawful acts alleged
12
     herein. At the center of the conspiracy is a central team of decision-makers, officers, managers,
13
     members and senior executives of each whom acted in concert with each of the Defendants and
14
     each other in furtherance of the unlawful activity alleged herein.
15
                    d) Accordingly, Relator Plaintiff further alleges that those Defendants (including
16
     Doe Defendants) who purport to have limited liability due to their status as a partnership,
17
     corporation and/or limited liability company have lost such protection and should have their so-
18
     called “corporate veil” pierced due to the fact that they did not comply with the formal
19
     requirements necessary to maintain such veil of limited liability and acted as individuals and
20
     with a unity of interest and ownership between the purported entity and its owner(s) such that it
21
     would be unfair if the acts in question are treated as those of the purported entity alone.
22

23
            4. Venue lies in the Eastern District of California in that BelCampo operates its

24
     businesses in Siskiyou County, State of California and takes advantages of resources, laws and

25
     benefits offered to companies who operate, conduct business and employ persons in Siskiyou

26
     County in the State of California. BelCampo maintained and continue to maintain records

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                                                       5
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1    relevant to such practices alleged herein in Siskiyou County within the State of California

2    and within this judicial district.

3

4
                            FACTS COMMON TO ALL CAUSES OF ACTION
5
               5. Relator Plaintiff was hired by BelCampo in in May 2020. Relator Plaintiff was a
6
     dedicated employee who immediately began making improvements to BelCampo’s substandard
7
     inventory and fulfillment policies. Shortly after he began his employment. Relator Plaintiff was
8
     promoted to Operations and Logistics Manager.
9

10             6. During Relator Plaintiff’s employment, he discovered that approximately $3.5 million

11   of the $4.8 million listed on the Balance Sheet did not physically exist. Relator Plaintiff reported

12   this information internally and was instructed to stay silent. Some weeks later he was granted

13   permission to publish an inventory report that reflected true inventory quantities. At the time,

14
     Relator Plaintiff was unaware of BelCampo’s unlawful conduct as set forth more specifically

15   herein.

16             7. In an effort to correct what Relator Plaintiff mistakenly perceived as ongoing errors (as
17   opposed to intentional unlawful activity), Relator Plaintiff began distributing a weekly inventory
18   report that listed the inventories by location and included YTD Production vs. YTD Sales
19   figures. These reports reflected that the company was selling less than 50% of the production
20   output.
21
               8. BelCampo initially ignored the reports by Relator Plaintiff which showed massive
22
     discrepancies in inventory, sales, destroyed product, etc. Subsequently, as such reports became
23
     more prevalent, BelCampo’s executives began deleting detail and reports relative to inventories
24
     and accountings.
25
               9. At all times, BelCampo claimed to be a company found “to create meat that’s good for
26
     people, planet and animals”. BelCampo farms meat and maintains and FDA-approved
27
                                                        6
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1    processing facility, full-service butcher shops, and restaurants. Belcampo engages in every step

2    of the meat processing and sales/distribution process. BelCampo is required to comply with the

3    applicable requirements of State and Federal Law which mandate the proper harvesting,

4    preparation, processing, labeling, identification, storage, maintenance, monitoring, testing,
5    quality control and distribution of meat products for human consumption (the “Services”).

6    BelCampo violated both State and Federal laws at nearly every step of the rendering the
7    Services, yet continued to distribute meat products to consumers. BelCampo’s meat inventory

8    which required cold storage was not properly maintained and BelCampo violated various local,
9    state and federal health laws with respect to the labeling, processing and storage of BelCampo’s

10   meat inventory as well as the operation of its farms and butcheries. In addition, BelCampo
11   falsely reported the source, conditions and other relevant details about the meat that BelCampo

12   produced, sold, distributed and served to consumers and customers. For example, BelCampo

13   was only selling 40% of what it produced and amassing large amounts of spoilage and waste

14   which were being mishandled and falsely reported internally and externally. BelCampo withheld

15   information which it is was required to disseminate regarding these matters and falsified and
16   destroyed documents which evidenced the foregoing failures. Such improper rendition of the

17   Services, unlawful activities, false statements, withholding of information required to be
18   disclosed and related conduct which enhanced, condoned, ratified, covered-up and promoted the

19   foregoing is collectively referred to herein as the “Unlawful Conduct”.
20          10. Relator Plaintiff brought the foregoing Unlawful Conduct to the attention of senior
21   management and BelCampo’s senior-most executives (e.g., Chief Executive Officer, Chief
22   Financial Officer and President) at various times during his employment. In response,
23   BelCampo began to exclude Relator Plaintiff from key meetings which Relator Plaintiff
24   previously attended and otherwise began withholding information from Relator Plaintiff which
25   was essential to Relator Plaintiff’s job function. Such action was taken in retaliation for Relator
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1    Plaintiff bringing the above-referenced matters to BelCampo’s attention and to conceal the

2    Unlawful Conduct.

3           10. After the loss of some key personnel (including the Director of Butchery), Relator
4    Plaintiff was asked to step in and become the plant manager. He was promised an increase in
5    compensation which never came.
6
            11. Relator Plaintiff continued distributing his weekly production report and updating the
7
     teams at All-Enterprise Meetings.
8
            12. In retaliation for making reports illustrating same, Relator Plaintiff and his team were
9
     excluded from the All-Enterprise Meetings by BelCampo and its executives (including Anya
10
     Fernald, CEO). Not only was this conduct retaliatory, but it impaired Relator Plaintiff’s ability
11
     to perform his job tasks and fulfill his expanded role with the Company. As a result of Relator
12
     Plaintiff’s efforts, Defendants (and each of them) began making plans and attempts to have
13
     Relator Plaintiff forced out or terminated.
14

15          13. Relator Plaintiff worked on the 2021 budget and made significant improvements to

16   the operational plans for the company. Relator Plaintiff met with the CFO to bring her up to

17   speed on the pending issues and was thanked for his work. However, shortly thereafter, Relator

18   Plaintiff emailed the CFO about the numerous problems with the inventory and waste. As the

19   issue became more pronounced, Relator Plaintiff was pushed out of the loop, ostracized and

20   criticized. In fact, the CFO angrily contacted the new CEO and stated, “Who in the hell does

21   [Relator Plaintiff] think he is”. The change in how Relator Plaintiff was being treated was

22   obvious and the comment was reported back to Relator Plaintiff by other employees of

23   BelCampo.

24          14. Relator Plaintiff was immediately blacklisted. He was excluded from meetings and
25   information which was essential to his job was directed around him. This conduct was in
26   retaliation for Relator Plaintiff’s reporting violations of policy, proper standards and applicable
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1    regulations. The CFO’s motivations were shared with others and then communicated to Relator

2    Plaintiff. Obviously, this had a significant impact on Relator Plaintiff’s day-to-day existence and

3    Relator Plaintiff’s work.

4             15. In an effort to either quiet Relator Plaintiff and/or force Relator Plaintiff to quit by not
5    honoring the promise; BelCampo promised Relator Plaintiff that Relator Plaintiff would be
6    permanently promoted and receive more money. These promises were never fulfilled. BelCampo
7    also manipulated Relator Plaintiff into a shared-living arrangement with other employees at a
8    property owned by BelCampo in an effort to monitor Relator Plaintiff.
9
              16. As Relator Plaintiff continued to be falsely accused, ostracized, purportedly
10
     “investigated” and have Relator Plaintiff’s work and career at BelCampo sabotaged; Relator
11
     Plaintiff became more and more concerned. Relator Plaintiff contacted then-CEO, Defendant
12
     Garry Embelton and disclosed all of the foregoing. Relator Plaintiff expressed his concern that
13
     Relator Plaintiff would lose the promised promotion and his then-current job. However,
14
     Defendant Embelton properly assured Relator Plaintiff that he was protected as a
15
     “whistleblower” and that he had “nothing to worry about”. Relator Plaintiff went on to report
16
     other issues such as acts of drug use in the workplace. Defendant Embelton reassured Relator
17
     Plaintiff about his career, promotion and raise as well as that no further retaliation would occur.
18
              17. Relator Plaintiff was chastised by BelCampo and other employees for approaching
19
     Defendant Embelton and stated that Defendant Embelton could not be trusted. Plainitff was then
20
     demoted. Thereafter, the company attorneys purportedly conducted an investigation into some
21
     of the events reported by Relator Plaintiff. Relator Plaintiff truthfully participated in the
22
     investigation, was demoted and was kicked-out of the BelCampo-owned residence where Relator
23
     Plaintiff had been residing. Relator Plaintiff was reprimanded on multiple occasions for conduct
24
     which was not attributable to Relator Plaintiff in retaliation for making the reports referenced
25
     above.
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1           18. Relator Plaintiff took every effort to undo the false accusations against him and

2    BelCampo’s attempts to force him to quit. Relator Plaintiff was told to be silent and threatened

3    that any further reports about BelCampo’s unlawful conduct would result in the termination of

4    Relator Plaintiff’s employment.
5           19. Relator Plaintiff returned to attempts to contact Mr. Embelton for assistance as this
6    was the very conduct that Mr. Embelton had assured would not occur. Mr. Embelton began
7    refusing Relator Plaintiff’s requests.
8
            20. Prior to his termination, Relator Plaintiff had also became aware of carcass mold
9
     issues in the cooler and realized the issues were most prominent with the nonorganic beef.
10
     Relator Plaintiff informed BelCampo of the issue numerous times; including reporting the excess
11
     waste and excessive visually-detectable mold from the hanging carcasses. Defendants ignored
12
     this information; even after Relator Plaintiff reported same numerous times. In addition, Relator
13
     Plaintiff reported other violations of applicable law regarding the processing, storage,
14
     maintenance and labeling of meat products.
15
            21. Relator Plaintiff made ongoing efforts to bring the company into compliance with
16
     regulations and industry standards. The efforts to force him out continued as his suggestions and
17
     concerns were ignored, rebuffed and the manner in which he was treated continued to decline.
18

19          22. Despite the ongoing efforts undertaken by BelCampo and its officers in retaliation for

20   Relator Plaintiff’s reports; Relator Plaintiff refused to quit his job. When all of these efforts

21   failed, Relator Plaintiff was unlawfully terminated in January 2020. Defendant BelCampo

22   accused Relator Plaintiff, primarily, of “gossiping” as a grounds for the termination. Defendant

23   BelCampo also loosely suggested that Relator Plaintiff was responsible for some of the very

24   Unlawful Conduct which Relator Plaintiff reported.

25          23. Defendants (and each of them) during Relator Plaintiff’s employment, failed and
26   refused to properly train, screen, conduct background checks, supervise, reprimand, direct and
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1    instruct its senior management personnel in a manner at or above the standard of care and in

2    accordance with Defendants’ stated policies and the laws of the State of California as all of same

3    relate to maintaining and promoting a work environment which is free of discrimination,

4    harassment and retaliation.
5           24. Defendants (and each of them) where aware of all of the foregoing conduct
6    (including the retaliation against Relator Plaintiff) and took no action. In fact, each Defendant
7    participated in, supported and condoned such unlawful conduct. All of the foregoing conduct
8    was openly and notoriously present in the work environment and were condoned and ratified by
9    the Defendants’ human resources officers and senior executives.
10
            25. All of the foregoing occurred by design and with the full knowledge of all
11
     Defendants. When such conduct was brought to the attention of all Defendants, they failed and
12
     refused to take any corrective action and continued in their course of retaliation.
13
            26. Each Defendant intentionally (and in some instances in a grossly negligent capricious
14
     and indifferent manner), wrongfully, maliciously, knowingly and willingly allowed all of the
15
     foregoing to regularly occur and failed and refused to intervene, cease and desist and/or take any
16
     reasonable efforts to eliminate or minimize such ongoing conditions or the damages that such
17
     conditions caused. Furthermore, each and all Defendants acted in concert, conspired,
18
     encouraged and cooperated with each other, condoned, supported, implemented and furthered
19
     such conduct with the intent to deprive Relator Plaintiff of Relator Plaintiff’ rights, to cause
20
     Relator Plaintiff injury and to force Relator Plaintiff to abandon Relator Plaintiff’s complaints
21
     and/or terminate Relator Plaintiff’s employment. Said conduct was implemented by the
22
     managers and officers of the Defendants on behalf and in furtherance of the directives, desires
23
     and benefit of the Defendants, and each of them.
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1           27. In addition to all of the foregoing, Defendants also engaged in numerous violations of

2    the False Claims Act and other federal laws by engaging in the following conduct (the “Unlawful

3    Conduct”):

4                   a) mislabeling meat that was not “organic” as “organic”;
5
                    b) falsely identifying the sources and methods of how animals were raised, fed,
6
     treated, sustained, butchered, etc.;
7
                    c) falsely identifying the origin and source of meat products sold to grocery
8
     stores, restaurants and consumers;
9

10                  d) falsely identifying the location of the animals from which Defendants’ meat

11   was sourced;

12                  e) falsely reporting the quantity and extent of meat that was spoiled, wasted and
13   destroyed;
14
                    f) passing off meat products as their own and making false statements about the
15
     nature of such meat products
16
                    g) charging customers and consumers higher rates for products which were
17
     passed-off as having more value than Defendants knew were accurate;
18
                    h) falsely claiming that meat products were “locally sourced” and/or imported
19
     from other places;
20

21                  i) falsely reporting the processes and quality control standards applicable to meat

22   products sourced and sold by Defendants;

23                  j) creating false sales, inventory and waste reports in connection with the
24   foregoing;
25
                    k) processing, storing, labeling and distributing meat products in violation of 21
26
     USC Sections 607 and 610.
27
                                                     12
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1           l) other similar conduct in violation of state and federal laws (as well as below industry

2    standards and Defendants’ stated policies, practices and representations).

3           28. Defendants and each of them engaged in the foregoing conduct and all of the
4    Unlawful Conduct knowingly, intelligently and intentionally and took efforts to conceal such
5    conduct with malice. Defendants and each of them failed and refused to report the foregoing
6    conduct to the United States and the State of California, despite Defendants’ obligations to do so.
7    Furthermore, in an effort to conceal the foregoing conduct and all of the Unlawful Conduct,
8    Defendants submitted false reports, claims, invoices and filings (and made other false
9    statements) to the United States and the State of California. Such efforts were undertaken with
10   actual knowledge, deliberate ignorance of the truth, falsity and withholding/concealment of the
11   applicable information, and with reckless disregard of the truth or falsity of the applicable
12   information.
13

14
                      I. FIRST CAUSE OF ACTION BY RELATOR PLAINTIFF
15

16                               AGAINST DEFENDANT BELCAMPO

17                        FOR VIOLATION OF THE FALSE CLAIMS ACT
18
            29. Relator Plaintiff realleges and incorporates herein by this reference Paragraphs 1-28
19
     above as though set forth fully here.
20
            30. The False Claims Act (FCA), 31 U.S.C. §§ 3729 - 3733 was enacted in 1863 by
21
     Congress. §§ 3729(a)(1)(A) and (B) set forth FCA liability for any person who knowingly
22
     submits a false claim to the government or causes another to submit a false claim to the
23
     government or knowingly makes a false record or statement to get a false claim paid by the
24
     government. Section 3729(a)(1)(G) is known as the reverse false claims section; it provides
25
     liability where one acts improperly – not to get money from the government, but to avoid having
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1    to pay money to the government. Section 3729(a)(1)(C) creates liability for those who conspire

2    to violate the FCA.

3           31. Defendants and each of them have jointly and severally violated and conspired to
4    violate the Federal Meat Inspection Act and other federal laws under the purview of the U. S.
5    Department of Agriculture by engaging in each act (and multiple acts) of the aforementioned
6    Unlawful Conduct and both (a) submitting false and/or fraudulent records, statements and claims
7    made to the United States Department of Agriculture and other governmental authorities and (b)
8    submitting false and/or fraudulent records, statements and claims in an effort to conceal such
9    Unlawful Conduct.
10
            32. Defendants and each of them have jointly and severally violated and conspired to
11
     violate the FCA by engaging in each act (and multiple acts) of the aforementioned Unlawful
12
     Conduct and both (a) submitting false and/or fraudulent records, statements and claims made to
13
     the United States Department of Agriculture and other governmental authorities and (b)
14
     submitting false and/or fraudulent records, statements and claims in an effort to conceal such
15
     Unlawful Conduct.
16
            33. Defendants and each of them engaged in the foregoing conduct and all of the
17
     Unlawful Conduct knowingly, intelligently and intentionally and took efforts to conceal such
18
     conduct with malice. Defendants and each of them failed and refused to report the foregoing
19
     conduct to the United States and the State of California, despite Defendants’ obligations to do so.
20
     Furthermore, in an effort to conceal the foregoing conduct and all of the Unlawful Conduct,
21
     Defendants submitted false reports, claims, invoices and filings (and made other false
22
     statements) to the United States and the State of California. Such efforts were undertaken with
23
     actual knowledge, deliberate ignorance of the truth, falsity and withholding/concealment of the
24
     applicable information, and with reckless disregard of the truth or falsity of the applicable
25
     information.
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1            34. Defendants have engaged in other acts which violate the FCA and which are known

2    by Defendants and the United States Department of Food and Agriculture, for which Relator

3    Plaintiff cannot yet identify; however Relator Plaintiff will seek leave to amend this complaint to

4    allege such additional violations and false claims. Defendants derived financial benefits and
5    goodwill from Defendants’ Unlawful Conduct and deception of the people, citizens, residents

6    and governments of the United States of America and the State of California (the “Represented
7    Parties”).

8            35. As a direct, foreseeable, legal, actual and proximate result of the Defendants’
9    conduct alleged hereinabove the Represented Parties have been harmed and damaged in an
10   amount to be proven at trial.
11
             36. Defendants, their senior executives, managing agents, managers, directors and
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     officers committed the acts described in this cause of action intentionally, willfully, oppressively,
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     fraudulently and maliciously for the purpose of injuring the Represented Parties and depriving
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     the Represented Parties of their rights. . The Unlawful Conduct and the Retaliatory Conduct
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     herein undertaken by Defendants was extremely reckless and capricious and subjected the
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     Represented Parties to unlawful and unjust hardships. The recklessness was despicable and done
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     in conscious disregard of the fundamental rights of the Represented Parties. Furthermore, such
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     conduct on the part of Defendants and those persons was intentional, oppressive, fraudulent,
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     malicious and done in a wanton effort to deprive the Represented Parties of their fundamental
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     rights. Defendants and those persons intended to cause injury to the Represented Parties and
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     engaged in conduct with a willful and conscious disregard of the Represented Parties’
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     fundamental rights. Accordingly, Relator Plaintiff also seeks any allowable and/or appropriate
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     punitive or exemplary damages which may be or become available against Defendants in an
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     amount appropriate to punish and make an example of them in addition to the other damages
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     sought herein, subject to applicable law.
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1                                        PRAYER FOR RELIEF

2    WHEREFORE , Relator Plaintiff prays judgment against Defendants as follows:
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            1. For general and special damages according to proof;
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            2. For special damages according to proof;
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6           3. For interest, according to law, on the amount to be ascertained at trial from the

7    applicable date upon which that interest begins to accrue according to law and as proved at trial;

8           4. For any and all costs and attorneys’ fees as provided by law;
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            5. For allowable and applicable punitive damages in an amount sufficient to deter
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     Defendants from engaging in such conduct again in the future;
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            6. For injunctive relief prohibited Defendants from continuing in the Unlawful Conduct;
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     and
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            7. For any other and further relief according to proof, any applicable law and/or that the
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     Court considers proper.
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16                                   DEMAND FOR JURY TRIAL

17          Relator Plaintiff hereby demand a trial by jury of the foregoing causes of action.
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19   DATED: January 3, 2022                               Respectfully Submitted
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21                                                       Michael S. Traylor, Esq.
                                                  Attorney for Relator Plaintiff Roger Creighton
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